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     JS 44 (Rev. 06/17)                                                                                   CIVIL COVER SHEET                                                      / 6-GV-LJQ(o
     The JS 44 civil cover sheet and the ·                                             ·ned herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
     provided by local rules of court. T                                                by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
     purpose of initiating the civil docket                              (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

     I. (a) PLAINTIFFS
     JASMINE-YING LEE

         (b) County of Residence ofFirst Listed Plaintiff
                                           (EXCEPT IN U.S. PLAINT!fF CASES)
                                                                                                                                            NOTE:


         (c) Attorneys (Firm Name, Address, and TelephonA,,Number),                                                                          Attorneys (If Known)
     David M. Koller, Esq., Koller Law LLC, 20~ust Street, Suite 1-8,
     Philadelphia, PA 19103, 215-545-8917


                                                    ION (Place an "X" in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in one Box/or Plaintiff
                                                                                                                                       (For Diversity Cases Only)                                         and One Box for Defendant)
     0 I         U.S. Government                                 Federal Question               I                                                               PTF          DEF                                         PTF       DEF
                    Plaintiff                                        '.S. Government Not a Party)                                 Citizen of This State         0 I          0 I     Incorporated or Principal Place       0 4     0 4
                                                                                                                                                                                       of Business In This State

     0 2         U.S. Government                                  'iversity                       :                               Citizen of Another State         0     2   0   2   Incorporated and Principal Place                                         0 5              0 5
                    Defendant                                      (Indicate Citi=enship ofPartie$ in Item III)                                                                         of Business In Another State
                                                                                                                    I
                                                                                                                                  Citizen or Subject of a          0     3   0   3   Foreign Nation                                                            0 6             0 6
                                                                                                                                    Foreign Coun
     IV. NATURE
            - - - OF
                  - - SUIT
                      - -- ,- ·---- -·                              -- --- - --- - ---     -                                                                                              fi                     f
                                     ...
             -    ·---                 -                                                       ---.;./                                                                        ------------VI.•   l~U.1.U.'-"'   V'-   '-'U.ll.   '-'V~'-'     L J .... .;1 ... 1.1   l.IVUUo


 I                 ·CONTRACT               ·'   ,,,JC'.;<_,,:-   ._,<•;; 31 _<_i
                                                                                       'TORTS'             'l                     ;i;;FORFElTURE/PENALTY:-5 i)!otf•;Af?'BANKRUPTCY''"fof:'"•' ··01; 'Ol'HER STATUTES' ., •I
     0   II 0 Insurance                       PERSONAL INJURY                                        PERSONAL INJURY              0 625 Drug Related Seizure             o 422 Appeal 28 use 158             O 375 False Claims Act
     0   120Marine                      0 310 Airplane                                             0 365 Personal Injury -              of Property 21 USC 881           0 423 Withdrawal                    0 376 Qui Tam (31 USC
     0   130 Miller Act                 0 315 Airplane Product                                           P~oduct Liability        0 690 Other                                  28 USC 157                           3729(a))
     0   140 Negotiable Instrument                 Liability                                       0 367 Health Care/                                                                                        O 400 State Reapportionment
     0   150 Recovery of Overpayment    0 320 Assault, Libel &                                            Ph~rmaceutical                                                •\'.<iiol'ROPERTY:Rli:!RT\l·.;,,,.,; 0 410 Antitrust
             & Enforcement of Judgment             Slander                                                Pef'sonal Injury                                             0 820 Copyrights                      0 430 Banks and Banking
     0   151 Medicare Act               0 330 Federal Employers'                                          P1'9duct Liability                                           0 830 Patent                          0 450 Commerce
     0   152 Recovery of Defaulted                 Liability                                       0 368 Asbestos Personal                                             0 835 Patent - Abbreviated            0 460 Deportation
             Student Loans              0 340 Marine                                                       Irijury Product                                                       New Drug Application        0 470 Racketeer Influenced and
             (Excludes Veterans)        0 345 Marine Product                                               Liability                                                   0 840 Trademark                             Corrupt Organizations
     0   153 Recovery of Overpayment               Liability                                          PERSdNAL PROPERTY ·'* 'l '•7 ->F :;; LABOR f;.•;rfNfef!f..J01"• •Aw~oCTALf\:EC..,.,lTv;,;wp 0 480 Consumer Credit
             of Veteran's Benefits     0 350 Motor Vehicle                                         0 370 Other Fraud         0 710 Fair Labor Standards                0 861 HIA (1395ff)                    0 490 Cable/Sat TV
     0   160 Stockholders' Suits       0 355 Motor Vehicle                                         0 371 Trtith in Lending           Act                               0 862 Black Lung (923)                0 850 Securities/Commodities/
     0   190 O_ther Contract                      Product Liability                                0 380 Other Personal      0 720 Labor/Management                    0 863 DIWC/DIWW (405(g))                     Exchange
     0   195 Contract Product Liability 0 360 Other Personal                                              Property Damage            Relations                         0 864 SSID Title XVI                  0 890 Other Statutory Actions
     0   196 Franchise                            Injury                                           0 385 Prbperty Damage     0 740 Railway Labor Act                   0 865 RSI (405(g))                    0 891 Agricultural Acts
                                       0 362 Personal Injury -                                            Pr6duct Liability  0 751 Family and Medical                                                        0 893 Environmental Matters
                                                  Medical Maloractice                                        i                       Leave Act                                                               0 895 Freedom oflnformation
 I           REAL· PROPERTY••Jf.:..~, • i.•.•• •CIVIll•RJGHTS·.• ,,•;;,•                          · 'PRIS0NER l!ETITIONSt"l: 0 790 Other Labor Litigation             ':#Jl,!'FEDERAU.TlUfSUlTS;•                  Act
  0      210 Land Condemnation         0 4 0 Other Civil Rights                                        Habe:js Corpus:       0 791 Employee Retirement                 0 870 Taxes (U.S. Plaintiff           0 896 Arbitration
  0      220 Foreclosure               0 44 Voting                                                 0 463 Alien Detainee             Income Security Act                           or Defendant)              0 899 Administrative Procedure
  0      230 Rent Lease & Ejectrnent   IX442 Employment                                           0 510 Motions to Vacate                                              0 871 IRS-Third Party                       Act/Review or Appeal of
  0      240 Torts to Land             0 44 Housing/                                                      Sehtence                                                                26 USC 7609                      Agency Decision
  0      245 Tort Product Liability               Accommodations                                   0 530 General                                                                                             0 950 Constitutionality of
  0      290 All Other Real Property \ ~ Amer. w/Disabilities -                                    0 535 Di:ath Penalty      ,.,..:f)!fz4f:lMMIGRATIONi~liili"                                                     State Statutes
                                                  Employment                                           Other:                0 462 Naturalization Application
                                       0 46 Amer. w/Disabilities -                                0 540 Mandamus & Other     0 465 Other Immigration
                                                  Other                                           0 550 Ci~il Rights                Actions
                                       0 448 Education                                            0 555 Pfison Condition
                                                                                                  0 560 Ci,vil Detainee -


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 V. ORIGIN                 (Placean "X"inOneBoxOnly)
                                                                                                           ~~m
                                                                                                           Cqnfinement


 J:H: I      Original              0 2 Removed from                                0   3        Remandell from             0 4 Reinstated or         0 5 Transferred from            0 6 Multidistrict                                0 8 Multidistrict
             Proceeding                State Court                                              Appellate Court                Reopened                  Another District                Litigation -                                     Litigation -
                                                                                                                                                             (specify)                   Transfer                                        Direct File
                                                     Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                                                                                                                                                                                                      ....,
             CAUSE OF ACTION Hie VII of .civil Riahts Act of 1964 ("Title VII")
         •

 VII. REQUESTED IN                                  0
                                                     Bnef descnpt10n of cause:

                                                                 CHECK IF THIS IS A CLASS ACTION
                                                                                                                I

                                                                                                                                     DEMAND$                                     CHECK YES only if dhanfe in complaint:
                                                                                                                                                                                                                                 I
      COMPLAINT:                                                 UNDER RULE 23, F.R.CVj.P.                                                                                       JURY DEMAND:        J!( es    0 No


                                                                                                  JUDGE.                                                                                                                                                             2018
 DATE                                                                                                    SIGNATURE OF ATTORNEY OF RECORD
 01/31/2018                                                                                                                                                    ·-u-c-tfl /'/{_ .
 F01H)FFICE USE ONLY

         RECEIPT#                          AMOUNT                                                          APPLYING IFP                                  JUDGE                                 MAG.JUDGE
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                             .;, Jti ti                           UNITED STATES DISTRICT COURT
FOR THE EASTE~JJSTRI~<;;F,9Ji;.Jft¥N~A~ -DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
                                                                                                                                            18                  4 08 •
assignment to approp~ffendar.

                                 lj/)d...       Oojwc0d ?e.iu~ 1 be:p++'ord 1 J\)T                                                          ()go °I {c,
AddressofPlaintiff:

Address ofDefendant:              '-? 'f-00
Place of Accident, Incident or Transaction:           ...::3 <./DO ~pr UC. e_, 0 ~
                                                                                     e
                                                sf? ('UC e_ Sf: J b .la_ J '(J A Jc; I() y.
                                                                                                     ph(I 4 p A-                    111 c
                                                                         l    (Use Reverse Si e For Additional ~pace)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning I                       ore of its stock?
    (Attach two copies of the Disclosure Statement Form in accor<Ilance with Fed.R.Civ.P. 7.l(a))                                      YesD

Does this case involve multidistrict litigation possibilities?
RELATED CASE, IF ANY:
Case Number:                                             Judge                                              Date Terminated:   -----.......,=---------------
Civil cases are deemed related when yes is answered to any of the following questions:

I. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court? /
                                                                                                                                YesD      Noli
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?                                                                                                                        /
                                                                                                                               YesD      No'lzf
3. Does this case involve the validity or infringement ofa patent already in suit or any earlier numbered case pending or within one year previo/sly
     terminated action in this court?                                                                                                  YesD         Nol1f


4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                       YesD         No~
CIVIL: (Place        V in ONE CATEGORY ONLY)
A        Federal Question Cases:                                                                              B.    Diversity Jurisdiction Cases:
    1. o Indemnity Contract, Marine Contract, and All Other Contracts                                          1. o Insurance Contract and Other Contracts
 2. o FELA                                                                                                    2. o Airplane Personal Injury
 3. o Jones Act-Personal Injury                                                                               3.    D   Assault, Defamation
 4. o Antitrust                                                                                                4.   D   Marine Personal Injury
                 tent                                                                                         5. o Motor Vehicle Personal Injury
                                                                                                              6. o Other Personal lnjury (Please specify)
                                                                                                              7. o Products Liability
                 abeas Corpus                                                                                 8.    D   Products Liability -        Asbestos
            Securities Act(s) Cases                                                                           9. o All other Diversity Cases
10. o Social Security Review Cases                                                                                      (Please specify)
11. o All other Federal Question Cases
            (Please specify)------------~------

                                                                       ARBITRATION CERTIFICATION
                                                                            (Check Appropriate Category)
,    J    10-'   VI\,, •,,   r l • ! \CJ
                             I                11e~                 ,
                                                                  counsel of record do hereby Certify:
            rsuant to Local Civil Rule 53.2, Section 3(c)(2), thattothe best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
             '.00 exclusive of interest and costs;


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               r I
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                                                                 Attorney-at-Law        '          (ji£ii
                                                                                                                                            9D 11 2
                                                                                                                                             Attorney I.D.#
                                              NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.
                                                                                                                                                               JAN 31 2018
DATE:

CIV. 609 (5/2012)
                 II/31/1~
                     !                                ~}Jf~
                                                          'T
                                                                                                                                           C/D I( j_
                                                                                                                                            Attorney I.D.#
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                                                                           IN THE UNITED STATES DISTRICT COURT
                                                                     ,. FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                     cXsE MANAlGEMENT TRACK DESIGNATION FORM
                  ''4..:•


           ~S/rr\ i o'\ e.                                       '/1~<j J_ee_.                                     CIVIL ACTION

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V\                           v                                                                                     NO.
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                      In accordance with the Civil Just~ce Expense and Delay Reduction Plan of this court, counsel for
                      plaintiff shall complete a Case M*nagement Track Designation Form in all civil cases at the time of
                      filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
                      side of this form.) In the event !that a defendant does not agree with the plaintiff regarding said
                      designation, that defendant shall, iwith its first appearance, submit to the clerk of court and serve on
                      the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
                      to which that defendant believes the case should be assigned.

                      SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
                      (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                                         ( )

                      (b) Social Security - Cases reque~ting review of a decision of the Secretary of Health
                          and Human Services denying plaintiff Social Security Benefits.                                              ( )

                      (c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.                   ( )

                      (d) Asbestos - Cases involving claims for personal injury or property damage from
                          exposure to asbestos.                                                                                       ( )

                      (e) Special Management-Cases that do not fall into tracks (a) through (d) that are
                          commonly referred to as complex and that need special or intense management by
                          the court. (See reverse side of this form for a detailed explanation of special
                          management cases.)
                                                                                                                                     /5)
                      (f) Standard Management - Cases that do not fall into any one of the other tracks.



                      Date
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                                                                                                               Attorney for
                                                                                                                                    v
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                                                                                                                                            Com
                      Telephone                                                                  FAX Number    E-Mail Address


                      (Civ. 660) 10/02




                                                                                                                              JAN 31 2018
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